Case 20-20224-jrs     Doc 58     Filed 07/30/20 Entered 07/30/20 08:03:50          Desc Main
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  IT IS ORDERED as set forth below:



  Date: July 29, 2020
                                                  _____________________________________
                                                              James R. Sacca
                                                        U.S. Bankruptcy Court Judge

 _______________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


 IN RE:                               )                          CASE NO. 20-20224-jrs
                                      )
 STILLWATER 8665, LLC                 )                          CHAPTER 11
                                      )
            Debtor.                   )
_____________________________________ )


            ORDER ON DEBTOR’S MOTION FOR VOLUNTARY DISMISSAL


       A hearing on Debtor’s Motion for Voluntary Dismissal (the “Motion”) was held before this

Court on July 28, 2020 at 1:30 p.m. Appearances were as noted on the record.

      Having considered the Motion and being that there are no objections thereto, IT IS

HEREBY ORDERED that the Motion is GRANTED and this case is DISMISSED.


                                  [END OF DOCUMENT]
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                                      Document Page 2 of 2



Prepared and submitted by:                                  No Opposition:

LAW OFFICES OF A. J. MITCHELL, LLC                          DAVID S. WIEDENBAUM
                                                            U. S. TRUSTEE

By: /s/ A. J. Mitchell                                      By: /s/ David S. Weidenbaum
A. J. Mitchell                                              [Signed with express permission]
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